 

CaSe 1:12-cr-00098-RHB ECF No. 10 filed 07/02/15 PagelD.21 Page 1 of 1

UN|TED STATES DlSTR|CT COURT
WESTERN D|STR|CT OF l\/l|CHlGAN

 

 

 

 

 

SOUTHERN DlVlSlON

uNiTED sTATEs oF AiviERicA Case NO' 1:12_“_98

Plaintiff,
V' Hon. Robert Holmes Bell
PABLO RAZC FIERRO

DEFENDANT'S lNlTlAL PRETRIAL
Defendant coNFERENcE suiv\iviARY sTATEMENT
Defendant PABLO RAZO F|ERRO l through his/her attorney’

 

submits the following initial pretrial conference summary statement.

|. D|SCOVERY

lz] The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).

The defendant |X| will l:l will not provide reciprocaldiscovery.

"- I_RM
The defendant requestsa jury l:l non-jury trial.

l|l. l\/l|SCELLANEOUS

This case may be appropriate for expedited resolution and sentencing. Defendant

I:| consents to preparation of an expedited sentencing report and waives the
applicable provisions established in Rule 32(e)(1)(2) and (f)(f)(Z)(B) of the Federal
Rules of Criminal Procedure; this does not obligate defendant to plead guilty.

>X{ Counsel for defendant is unaware at this time of any known conflict with counsel's
representation of defendant Counsel will immediately advise the court if any such
conflict becomes known.

l:] Counsel for defendant is aware of the following potential conflicts:

 

 

 

 

lV. OBL|GAT|ONS

IE Counsel for defendant acknowledges having reviewed the Ob|igations of Defense
Counsel section available at the court's website, www.miwd.uscourts.gov >>
Attorney information >> Criminal Case lnformation.

Date July 2, 2015 s/ Britt l\/l. Cobb
Counsel for Defendant

 

 

(Rev. 10/3/2011)

